      Case 4:20-cv-00360-ACA-JHE Document 16 Filed 09/24/20 Page 1 of 2                    FILED
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                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


                   UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                         MIDDLE DIVISION

 ALI ASFEDAY HUSSEN,                        )
                                            )
        Petitioner,                         )
                                            )
 v.                                         )   Case No.: 4:20-cv-00360-ACA-JHE
                                            )
 WILLIAM P. BARR, et al.,                   )
                                            )
        Respondents.                        )


                           MEMORANDUM OPINION



       The magistrate judge filed a report recommending that the court deny Ali

Asfeday Hussen’s 28 U.S.C. § 2241 petition for a writ of habeas corpus. (Doc. 13).

Although the magistrate judge advised the parties their right to file objections to the

report and recommendation, the court has not received any timely objections.

       After a de novo consideration of the entire file in this action, including the

report and recommendation, the court ADOPTS the magistrate judge’s report and

ACCEPTS his recommendation. The court WILL DENY Mr. Hussen’s § 2241

petition.

       The court will enter a separate final order.
Case 4:20-cv-00360-ACA-JHE Document 16 Filed 09/24/20 Page 2 of 2




DONE and ORDERED this September 24, 2020.



                           _________________________________
                           ANNEMARIE CARNEY AXON
                           UNITED STATES DISTRICT JUDGE




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